                                             Case 5:15-cv-04670-PD Document 8 Filed 10/26/15 Page 1 of 28




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f,
              _________________________
     •.• (..... •' ;   ' .• '   ··~   •• ;
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                                                                                                                                               .4    i.~J tJJ



                       Johnnie Lenan.Nelson
              -------------------------··-
                (In the space above enter theji1ll nume(s) of the plainiijj(s).}

                                                                                                                              .~. ·-· 1 D-----· -·-· 4. 6-7 0---
                                                            - against -

                       Janine L. Quigley, ; _.                                                                                COMPLAINT
                                                                              .. ·,«-=~n~w=-<+d....
                       J EFFR.:...•E-..Y-._R.,_'.,-:-s-+ih'-''i-'I:'"'"'h,_\·,"""'             t' - - - - - - - - .
                                                                                                                                    under the
              ----------------------·--··
                                                                                                                        Civil Rights Act, 42 U.S.C. § 1983
                                                                                                                               (Prisoner Complaint)
               ----------'-------------------
                                                                                                                           Jury Trial; !7'Yes             0 No
                                                                                                                                           (check one)



                                  _________________________ _
                ~~----------------------··-·

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                 (In 1h11 space abow enter the ji1/J nume(s} of the defimdant(i:). lf_,ou
                 ct1111iu1fit the names uf all uf the de/endams in the space pro~idttl,
                 please write ..see attached" in the spuce above and attach an
                 t1ddirwnal sh.,et ofpaper with rhejul/ /isl of names. The n"mes
                 listed in the above caption must be identical to those contained i~·
                 Part 1. Addreso·es shuuld not be included here.)


                  I.                         Parties in this complaint:

                  A.                         Lisr your name, identification number, and the name a:,d ad1:iress of your current ph1ce of
                                             confinement. Do the same tor any additional plairitiffo named. Attach additional sheets of paper
                                             as necessary.

                 Plaintiff                           Name         Johnnie Lenan Ne.lso~-------------­
                                                     ID#_~2_0~0_6_-_1_1_8~8-~
                                                                                                           -·- - - · - - - - - - - -    ------
                                                                       Berks Co ~n t L Pr i ~-o_n_______ - - - - - - -
                                                     Current Instirution
                                                     Address      1287 County W~l(are_Rc;l._._ _ __
                                                                  Leesport, Pa . .-12533__


                  Rev. 70/2009
          Case 5:15-cv-04670-PD Document 8 Filed 10/26/15 Page 2 of 28


B.       List all defendants' names, positions, places of e11.1pl•Hme111, and the address where each dt::tendant
         may be served. Make sure 1hat the defendant(s) ltsted below are identical to those LOntained in the
         above caption. Attach additional sheets of paper as 111.:ces~ary.

Defendant No. l              Name      J anine L.- -Q~igley
                                                    ----                                       Shit:!d # _ _ __
                             Where Currently Employed ___ Ji.~rks
                                                          County Priso_n_ _ _ __
                             Address      1287 County Welfare Rd·
                                          I.eespor.t_.:,...,_:_Pa __J 9.~5~3~3~---- · - - - - -

Defendant No. 2              Name      Jef frex, R.          Smi,t,.b-.=~----- Sh11o,ld#-_··_,._ __
                             Where Currently Employed ____ B..e..r.k s
                                                              Co u n t y Pr i s=o-=cn=-----
                             Address    1287 County_Ji_~lf are Rd.
                                        Leesport .,JlL-_ .12..J,-"3'-'3'-------
                                         ,,
Defendant No. 3              Name   Lt. Phill!P~---··-------- Shield#_ _ __
                             Where Currently Employed ___ !3e~ ks Count Y Prison
                                                                                                  ·------
                             Address      12 8 7 Coyn .ty_We 1 f,...;:;a""r-'e'--R_d_._________
                                          Lees por t_i__P..l!.!. __ 1,_9_5_3_3_ __

Defendant No. 4              Name   Lt. Schearer ___ .__________ Shield#_ _ __
                             WhereCurrentlyEmployed.__~er:ks County Prison.______

                             Address 12 8 7 Coun_!y__ We.!..~ are Rd.

                                     Leesport, J:.~-· _J 95.=3_3_ _ _ __

 Ddendant No. 5               Name   Lt • Doug l~L __ .__                   Shidd # _ _ __
                              Where Currently Employed-~ e r_k s County Pris on_______

                              Address 12 8 7 Coun_t.y__We_lf are Rd.
                                      Leesport, P~-·_!_J5_3_3_ _ _ _ _ _ _ _ _ __
 II.      Statement of Claim:

 State as briefly as possible the facts 01 your case. Desc.ribe ho\\ ~.of the defendants narneu in the
 caption of this complaint is involved m this action, along w:.th tile dales and locations of all relevant i::vents.
 You may wish to include further details such as the names d other pmsons involved in the events giving
 rise to your claims. Do not cite any cases or statutes. If you inte11d to allege a number of related claims,
 number and si::t faith each claim in a separate paragraph. Arrad. additional sht:ets of paper as necessary.

 A.       In what institution did the events giving rise ro your cl;,imls) occur?     Ber ks County J a i 1
                                                                ·-·--·--------
 B.       Where in the institution did tne events giving rise   tJ   yc"ir claim(s) occur?
                                                                                             ---------
            J,I,D, housing units                                -·-·-----------·-----
 -------------------·---·-··-·--·-------------
 C.        Whac date and approximate umt: did the events giving :ise to your claim(s) occur?         _3 /   2 6L1..2

 Rev. 1U/2009                                            - 2-




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  Case 5:15-cv-04670-PD Document 8 Filed 10/26/15 Page 3 of 28

                      ADDITIONAL DEFENDANTS




Name:   Sgt. Rescorlo
Emplyd: Berks County Jail
Addrss: 1287 County Welfare Road
        Leesport, Pa. 19533
                       Case 5:15-cv-04670-PD Document 8 Filed 10/26/15 Page 4 of 28



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                                                                          T
  What
happened    D.          Facts:      REFER TO        CHRONOL~GI:~A~_?!DER                    OF EVENTS PAGES·
 to you?
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   did
  what?
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   Was
  anyone
   else                                                                     · - · - - - - - - - - - - - - -------
involved?
             -----------------------·-·-·----------- -------
                                     · · - · · - - · - - - - - - - - - -------


 Who else                                                                       ·-··---·--------- -------
 saw what
happened?

                                                                           ··-------------- -------
                                                                           ·--·---·--------- - - - - -

            III.       lnj ucies:

            If you susrained injuries related to the events alleged above:, de:,..:ribe them and state what mtJical
            treatment, if any, you required and received. _ _ __

             -----------------------... - -------------------
                                    -- ------------ -------
                                                                            -- --·------
                                                                            - - ---·----------------
                                                                             -·------------ -------



            IV.        Exhaustion of Administrative Remedies:

            The Prison Litigation Reform Act ("PLRA"), 42 U.S.C. ~ 19971.(a), rnquires that" [n]o actiou shall be
            brought with respect to prison c.onditions under section 191:!3 of rhis title, or any other Federal law, by a


            Rev. ·1 U/2009                                         - 3-
         Case 5:15-cv-04670-PD Document 8 Filed 10/26/15 Page 5 of 28
                       Chronological order of events

       On 3/26/15 I recieved a misconduct (document#1) after an
 investigation was performed by Lt. Douglas for using another
 inmates phone privileges. This incident is a Class 1-B offense
 #159 (other provisions) in the Berks County Jail Inmate Handbook,
 hereto referred to as (IH),(violating a rule, provision,orderor
 regulation) specifically applying to the provision 4.6 telephone
 use, punishable up to 60 days in segregation or up to 45 days loss
 of privileges.
      On 3/27/15 I recieved a memo from Chief Deputy Warden, Jeffrey
 Smith, hereafter referred to as(CDW. Smith.) CDW Smith informed
 me that my phone privileges had been suspended(Doc.#2).
      On--3-f2-7f1-S--I-- sent- an- Inmate--- Communication-Forrrr, hereto--refe·rred--
 to as (ICF) to CDW. Smith(Doc.#3) questiot;ting why .;ind fpr how long?
      On 4/1/15 CDW Smith responded with his reasoning why and
·&voided entiely the how long. He stated the seriousness of the
 infraction and in so denying my 6th Amendment Rights. All this
 on unfounded, unsubstantiated rumors and hearsay and not founded
 on evidence for a relitively minor incident, which, is in serious
need of Constitutional scrutiny. In the I-H page #3 it states,
 "I have a Right and not a privilege to have access to counsel
 through unmonitored phone calls". How then does CDW Smith and
Lt. Douglas deny me this Right?
      Again, on 4/13/15, after 18 days with loss of phone privileges
an Inmate Communication Form, hereto referred to as (ICF) to
CDW Smith (Doc#4) informing him that I have a up-coming trial
for 1st degree murder charges in 43 days and pleading with him
to reconsider this suspension of my phone privileges since I need
to be instant contact with my lawyer and family in regards to
this trial.
      On 4/15/15 CDW Smith again denied my access to use the phone,
stating "write them". There is no valid connection between my
Right to attorney and legitimate prison security concerns, thus
negating the Judicial deference when denying adequate, effective
and meaningful access to the Courts, as my 14th Amendment demands.
      On 4/17/15 I was once againg given a misconduct (Doc.#5).
This misconduct was from Sgt. Rescorla for "refusal of order".
This being another Class 1-B #154 Section 7.4 of the I-H. Again
I am sent to the segregation unit for disobeying the aforementioned
memo (Doc.#2) dated 3/27/15. This time Sgt. Rescorlo claims that
"information has come to his attention that I have another inmate
making calls on my behalf." Again, unfounded, unsubstantiated,
suspicions, rumors and hearsay have exagerated the penalogical
objectives in regards to Plaintif's protected Constitutional Rights.
      On 4/21/15 I filed an Inmate Grievence, (Doc#6) challenging
misconduct (Doc #5) for "Refusal of order in the form of a memo.
Since I was not issued a misconduct again, for misuse of the
telephone, than how did I refuse an order?
      On 4/28/15 Lt. Phillips responded to my grievance with
additional, non-sensical, unfounded, unsubstantiated extremism
on penalogical concerns in collusion with the previous mentioned
defendants, denying me my Constitutional Rights.
        Case 5:15-cv-04670-PD Document 8 Filed 10/26/15 Page 6 of 28
PAGE # 2                     OR DER Ot' EVENTS


       On 4/21/15 I filed a second Grievance (Doc#7) regarding
 my phone suspension. I specifically requested t~ know how long
 this suspension is to run and to inform them again of my urgent
 need to have immediate access to my attorney and family durin
 my up-coming trial.
       On 5/4/15 a Lt.Schearer responded to my grievance (Doc#7)
 stating "I have no Right to use the phone since I have no phone
 privileges." I can only surmise this s~spension.is indefinite.
 since they refuse to answer that question. Seeing that my tri~l
 is an on-going and fluid, my need to use the phone to call family
 and- attorney-- is- critical- to- my-- defense.- My- ability to- communicate--
 in a timely manner has Been hampered by the defiance of the
 administration towards the Constitutional Rights demanded. They
 are all impeding my ability for prompt, efficient access to both
 counsel and the Courts. Adding Lt.Schearer to the list of those
 names for violating my Constitutional Rights.
       On 5/10/15 I filed an Appeal (Doc. #8) to grievence (Doc#7).
 In doing so I cited the Berks County Jail Inmate Bandbook section
 1.4.1 (inmate rights) and 1.4.2 (inmate privileges). I specifically
 made the distinction between the two, stating that "I have a right"
 to have access to an attorney through unmonitored telephone calls
 and not merelya privilege as the administration personel continue
 to cite. They are clearly distinct and clearly their definitions.
       On 5/5/15, Warden Janine M. Quigley responded again to my
grievance appeal stating "You have no phone privileges and for me
 to write to my attorney and tell him"! Apparentley the saga
continues to the top of the Berks County Jails' penalogical
hierarchy. So, putting my new-found prejudice aside, I am faced
with this delemna of trying to put some order and direction to
 this chaotic situation confronting me daily. By ignoring my Rights
Plaintif argues that the defendants, in collusion, with malice,
have conspired to deny His 1st, 6th and 14th Amendments Rights,
along with them infringing on his 8th Amendment to be free from
cruel and unusual punishment. Plaintif further argues that due
to defendants' responses, Plaintif has/is suffering unnecessary
delays and obsticles resulting in critic~l time-frame decisions
and opportunities in trial being lost.
       On 5/26/15 Plaintif once again attempted to reason with the
aqdministration to resolve this issue by sending another commun-
ication to CDW Smith (Doc#9). In pleading I mentioned it has
been well past 45 days (Inmate disciplinary guidelines) for loss
of privileges (suspensions).
       On 6/5/15 CDW Smith response again was uncommitted and vague.
  Denied, without any goal to go after for resolve.
      On 5/18/15 my attorney, Mr Michael D. Dautrich, Esq. sent
a letter to Warden Quigley questioning the reason behind my phone
rights to confer with counsel had been denied.
      On 6/1/15 Warden Quigley responded to attorneys' letter (Doc#10)
claiming I had multiple violations of the telephone policy, and yet
never charged multiple times? Once again Your Honor, the penal-
ogical administration is rife with false, wild and unfounded claims
with accusations born out of prejudice and and vivid imaginations
therefore lacking substance and duty. Be it noted that my attorney
has suffered no attorney misconduct either.
                         Case 5:15-cv-04670-PD Document 8 Filed 10/26/15 Page 7 of 28
     PAGE # 3                                         ORDER Oll' EVENTS

                  On 6/18/15 Plaintif filed a motion to attend a private viewing
        of his deceased sister, Ashley Nelson (Doc# 11).
                  On 6/19/15 the Honorable Judge, Paul M. Yatron, Berks County, Pa.
        signed the order granting Motion for plaintifs viewing on 6/23/15.
        Somewhere between the Motion being granted and the viewing date the
        Order was denied. With no ability to console with family or contact
        the laywer by phone, this opportunity to challenge denial of Court
        Order #5539-2013 was lost. As a result of more unfounded accusations,
        rumors and hearsay, plaintif and family continue to suffer cruel and
        unusual consequences. Plaintif reserves the right to amend this complaint
        when the names of those individuals that had the Court dismissed become
_..____ kn-own-.----------------------------------------- -- -------------- ---------- --- --------------------- ----- - ----..----
                 On 7/15/15 I continued to plead with CDW Smith for a return of
        his phone Rights (Doc# 12). It has now gone beyond 90 days which is the
        prescribed suspension guidelines for disciplinary sanctions. Actually
        it is more then twice the amount.
                 On 7/15/15 CDW Smith responded with what appears to be more exagerated
        prison security concerns. A second request was sent when the last one
       was not answered (Doc# 13). Both were dimissed.
                 Today I decided to address this matter in the Courts. It has gone
        on long enough and my fundamental rights are being abridged. I now ask
        this Court for a speedy Judicial decision for immediate protection of
       my rights and protection any further unjustified consequences the Berks
       County Prison Administrators will attempt.




                                                                                    Respectfully Submitted,




                                                                                     (\~ (l1~
                                                                                    ~hnnie           Nelson               .
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          Case 5:15-cv-04670-PD Document
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prisoner confined in any jail, prison, ur other correcuonal iaciii>)' until such administrative remedit:s a:> are
available are exhausted." Administrative remedies are als6 kn<:wn a~ grievance procedures.
                                                                  !
A.       Did your claim(s) arise while you were conrl.ned i.n a j.1il, prison, or other correctional facility?
                                                         : 1·
         Yes XX No                                         !
                                                                      1

lf YES, name the jail, prison, or other correctional fa1:ility wht,:e you were confined at the tune of the
events giving rise to your claimls).                           :1·
-----------------------·--·------------                                                            ------
                    BERKS       COUNTY PRISO~_i.~------------ _ _ __

B.        Does the jail, prison or other correctional fa<ahcy wfa:e your claim(s) arose have a c,'fievance
          procedure?                                         1


                                                             I.;
                                                             ,.
          YesX_lL_ No         Do Not Know                    i·
                                                            I.
                                                                      ~
                                                            1
                                                             ! J


C.        Dot:s the grievance procedure at the jail, priwu QI otbr co1Tectional facility where your claim(s)
          arose cover some or all of your claim(s)?

          YesXX     No         Do Not Know

          lfYES, which ciaim(s)?      LOSS OF R ~G!!_~------·------- _ _ __

 D.       Did you file a grievance in the jail, prison, or oth1:r cf :rectional facility where your claim(s) arose?

          YesXX No
          lfNO, did you file a grievance about the events tkscnbed in this complaint at any ocher jail,
          prison, or other correctional facility?

           Yes       No


 E.        If you did file a grievance, aoout the events described in thii; complaint, where did you file the
           grievance?
                   BERKS COUNTY PRISON
          - - - - - - - - - - - - - - - - · - - · - ----·----------------
           I.       Which claim(s) in this complaint did you gri.:ve'? _        ALL OF THE=M'------
          ----------------·                                 .             ·-·--------------------
          2.        What was theresutt, if any? _DEN.I.ALAND.                  UNFOUNDED ACCUSATIONS

          3.        What steps, if any, did you take to <ippeal thac decision? Describe all eifons   10   appeal co
                   the highest level otthe grievance p1ocesi .. _I TRIED TO REASON WITH
                  THE ENTIRE ADMINISTRATION.                        ALL EFFORTS DENIED.

                                                                      -- --·---------------

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 Rev. 10/2009                                            - 4-
               Case 5:15-cv-04670-PD Document 8 Filed 10/26/15 Page 9 of 28




F.       If you did not file a grievance:                    l
                                                                I.
                                        I                       '
          l.        If there are any reasons why you did not ]le •.grievance, state them here: _ _ _ _ _ __

                    - - - - - - - - - - - - - · - - - - --


                                                                    1--·




          2.        If you did not file a grievance but infomud a: ty otf,cials of your claim, state who you
                    informed, when and how, and their 1espo.1se, tf any: _ _ _ _ _ _ _ _ - - - - - -



                                                                    ·- ----------- ------
                                                                    ·- - - · - - - - - - - - - - - - - -

                                                                         ·•
G.        Please set forth any additional information that is 1.ele•dnt to the exhaustion ofY.our .tdministrative
          remedies. ALL GRIEVANCES FILED INCLUDING APPEAL




           -----------'-------·---
                                                                ----------

 Note:    You may artach as exhibits ro this complaint any d )Ctll 1ents related          to   the exhaustiou of your
          admmistrative remedies.                                      "·
                                 DOCUMENTS            1-13 included

 V.       Relief:


Slate what you want the Coun to do for you (including: the           E:IDOL   nt of monetary compensation, if any, that
                          Immediate return of phone RIGHTS,
 youareseekingandthebasisforsuchamount).
 Order from the Court againsTretariat1on, and transfer
------------------------
  to another county facility as precautioary measures.

 Rev. 10/2009                                          - ~) -
                Case 5:15-cv-04670-PD Document 8 Filed 10/26/15 Page 10 of 28
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         VI.       Previous lawsuits:

         A.        Have you filed other lawsuns in state or federal cou1t dealing with the same facts involved in this
                   action?
 On
these
claims             Yes       No
                                  xx
         8.       If your answer to A is YES, describe each lawsuit h;t aaswering questions 1 through 7 below. (If
                  there is more than one lawsuit, describe the add;tiondl .awsuits on another sheet of paper, using
                  the same fom1at. )

                   L       Parties to the previous lawsuit:

                  Plaintiff _ _ _ _ _ _ _ _ _ _ __

                  Defendants------------

                  2.       Court (if federal court, name the dis1rict; if:mie court, name the county)

                  3.       Docket or Index number _ __


         Rev. 10/2009                                         - 13 -
                 Case 5:15-cv-04670-PD Document 8 Filed 10/26/15 Page 11 of 28

                                                                   !;:
                 4.       Name of Judge assigned to your case __;~-- __
                                                                    'I

                 5.       Approximate date of filing lawsuit ____   L__
                 6.       ls the case still pending?    Yes      Nu
                                                                   I'


                          lfNO, give the approximate date of dispusiti m

                  7.      What was the result of the case? (For 1:xi,mpb: Was the case dismissed? YI- as there
                          judgment in your favor? Was the case aµpeal~d?) - · - - - - - - - - - - - - - - - -
                                                                   '
                                                                    ii




         C.        Have you filed other lawsw1s in state or federal :oun I
 On
other              Yes       No   XX
claims                                                                 1   t

         D.        If your answer to C is YES, describe each lawsu(, by u.iswo:Ting qw:stions I througn 7 below. (lf
                   there is more than one lawsuit, describe the addi!zona lawsuits on another piece of paper, using
                   the same format.)

                  l.       Parties to the previous lawsuit:

                  Plaintiff ___________________ - - - - - - - - - - - - - - - - - - - -

                  Defendants_,.----------------··------------- - - - - - -
                                                                               ;

                  2.       Court (if federal court, name the district; if slde court, name the county)

                  3.       Docket or Index number
                                                        ----------·---
                  4.       Name of Judge assigned to your c a s e · - - - - - - - - - - - - - - - - - - - - - - -

                   5.      Approximate date of filing lawsuit·---------

                   6.      ls the case still pending?    Yes      No

                           IfNO, give the approximate date of drnp:1siti,.11 · - - - - - - - - - - - - · - - - - - -

                   7.       What was the result of the case? (Fur exampJt,: Wa!i the case dismissed? Was there
                           judgment in your favor? Was the case appeal.d?) - - - - - - - - - - - · - - - - - -

                           -----------------·-·------------ ------
                           ----------------------------------- - - - - - -




         Rev. 10/2009                                          - l -
                                       i 8 Filed 10/26/15 Page 12 of 28
           Case 5:15-cv-04670-PD Document
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                                                              !\                        Johnnie L. Nelson
                                                     lmtitutllln.
                                                             ' 11 ddress               ~~~~~~~~-~~~~~~~~-




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                                                              j!                        1287 County Welfare Rd.
                                                            ,j)
                                                                                        Berks Co, Pa. 19533
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                                                               r!·       .,.       l

Note:      All plaintiffs named in the caption of the complaipt m •.st date and sign the complaint and provide
           their inmate numbers and addresses.


                                                                               '

I d'cl"'   "°"" ponalty of P"i"'Y Ihm on th•_& day ol' -~4                                        ,20.Lf._,   I •m doli•ering
this complaint to prison authorities to oe mailed to the Cl'.r\~'s C•.rce of the United States Distric~ Court     for the
Eastern District of Pennsylvania.    ·                        ·    J           ·i                        '
                                                                     \




                                                   Signature of Pkmt




Rev. 10/2009                                           - 8-
                                   Case 5:15-cv-04670-PD Document 8 Filed 10/26/15 Page 13 of 28
                                                                                      BERKS COUNTY PRISON

                                                                                MISCONDUCT CITATION

                                                                                                                                                                             Date

 Incident Location                                                                                                                                                          Time

 Citation

    Class          #                                     Offense                                      Class            #                                             Offense
  1 r-                                            . !/   ,/     ~
                                                                    ,i
                                                                         ('t·
                                                                                ,,,
                                                                                  '

                        --



 Officer Report
                                                                                                      r,.

           '1:'                                                                                            ', !




                                                                                                       IOfficer Signature
Actions Pending Disposition
0    Subject Locked In Own Cell.                                                                      0 Warning Is Issued
O;; Subject         Transferred To            ~3___.                                                  0 Material(s) Confiscated
0    Subject Removed From Job Assignment.                                                             0 Other Action - - - - - - - - - - - - - - - -

Witnesses



Inmate Notification                                                                                   Supervisory Review
                                                                                                       :     -    ~:'"                       '    1   .)   _l
                                                                                                                                                       _..-71\.
                                                                                                                                                                  <' \~·.. \,\
Copy Deliv~ed To Inmate By                                ,.._ i         I
                                                                                                       ,_.         ..:;i,c.1.\. t:.Yl>-rt t.:'" ·'                               1-....... / \


Name _,
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                                                     Dote __1_'_ Time /
                                                                                        '
                                                                                            J -:JtJ
                                                                                                      Shift Commander Sihnature

Staff Witness                                                                                         0 Informally Adjusted
                                                                                                      GF' Referred To Disciplinary Committee
                                                               :<_·.. ,-'-f_.''~----­
Inmate Signoture..c)=--·-"_,_\_-J_·-.1-'-'-•'-_f_-+\._\'-J._.'....                                    D Notation
                                                    (A~knowledges Receipt of Copy)

                                             Whit"' C'nnv - Treatment                         Canarv - Caotain              Pink Coov • Inmate                                                   H?na_ocr-o   A
         Case 5:15-cv-04670-PD Document 8 Filed 10/26/15 Page 14 of 28




Memo
 To:   Inmate Johnnie Nelson #2006-1188          ~

 From: Jeffrey R. Smith, Chief Deputy Warde~
 CC:   Senior Staff, Captain, Custody Lts. and Sgts., J. Sharp, M. Mullen, Treatment
       Supervisors, C. Eppright, Author's file
 Date: March 27, 2015
 RE:   Suspended Telephone Privileges



As a result of your disregard for institutional rules here at the jail and your-intensions of
the telephone conversations, your telephone privileges have been suspended. Should
you continue your attempts to misuse the system, further disciplinary action may occur.




JRS
                                  Case 5:15-cv-04670-PD Document 8 Filed 10/26/15 Page 15 of 28
                                                   BERKS COUNTY JAIL SYSTEM
                                                  INMATE COMMUNICATION FORM

                                                                                                            BCJ # Zco b- 1 !'2-~,
                                                                                                        Unit/Cell# ~ . l 11..                               Date     '3- '.l I - \ 5

 TO: (Select only Q!1.!!. of the following,                            selecting more than ONE box will result in your communication being filed, unanswered.}


 D Warden ~Deputy Warden
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                                                                                                                                                                 Inmate Accounts
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 0 Kitchen 0 Chapel                                                  0     Commissary                         0     Booking/Mail/Property

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 profanity will not be addressed. ONLY ONE TOPIC PER COMMUNICATION.




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BCJS 501U. 3-2014                                   Original - Treatment File                                       Canary - Return to inmate with response
                                           Case 5:15-cv-04670-PD Document 8 Filed 10/26/15 Page 16 of 28
                                                            BERKS COUNTY JAIL SYSTEM
                                                           INMATE COMMUNICATION FORM

                                                                                                              BCJ # L:>o(o- l\ 'C-f.>
                                                                                                         Unit/Cell # :;::.. s--::!. le;
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 TO: (Select only one of the following,                                           selecting more than ONE box will result in your communication being filed, unanswered.}


OWarden
D Custody
                                       ~Deputy Warden
                                       D Medical
                                                                                 D Treatment
                                                                                 D Education
                                                                                              D Inmate Telephones
                                                                                              D SOG Commander                                                                oD ___
                                                                                                                                                                                Inmate Accounts
                                                                                                                                                                                             _
D Kitchen                              D Chapel                                  D Commissary D Booking/Mail/Property
Write legibly; supply' alt relevant detailS: Forms whieh are- unclear-or contain- demeaning language; threats or-
profanity will not be addressed. ONLY ONE TOPIC PER COMMUNICATION.




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BCJS 501U, 3-2014                                             Original - Treatment File                              Canary - Return to inmate with response
                                                 Case 5:15-cv-04670-PDBERKS
                                                                        Document 8 Filed
                                                                            COUNTY PRISON10/26/15 Page 17 of 28

                                                                                                                           MISCONDUCT CITATION
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 Incident Location                                                                                                                                                                                            Time

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     Class                #                                                              Offense                                                       Class        #                                 Offense
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Offlc,-r Report                                             .
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                                                                                                                                                        I Officer Signature                     'i'   I .::   l   /fl,. ·;t (     ·" I     . ;'l f'' / ; t   I
Actions Pending Disposition
D Subject Locked In Own Cell.                                                                                                                          D Warning Is Issued
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Q         Subject Transferred To                                                ,   l   ·V                                                             D Material(s) Confiscated
D Subject Removed From Job Assignment.                                                                                                                 D Other Action - - - - - - - - - - - - - - - -

Witnesses



Inmate Notification                                                                                                                                    Supervisory Review "'
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Copy Delivered To Inmate By

Name           .d         1 ..    ,,             -:.,,,,,                               Date~ ime 1I,0
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Staff Witness                          •v.       ! ()
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Inmate Signature ~·'!~---------..J------                                                                                                               D Notation
                                                                                    (Acknowledges Receipt of Copy)

                                                                   White Copy - Treatment                                                   Canary - Captain             Pink Copy - Inmate                                              #209-REC-4
                                                                     Case 5:15-cv-04670-PD Document 8 Filed 10/26/15 Page 18 of 28
                                                                                                                                                                BERKS COUNTY JAIL SYSTEM ......
                                                                                                                                                                 INMATE GRIEVANCE FORM


Inmate Name .)o\oao ,e                                                                      C\ 'V-on

                                                                                                        Instructions: Refer to the inmate handbook for information on the inmate grievance system.

                                                                                                                                                                                         Administration Use Only

     0            Does not fit criteria for an emergency/sensitive grievance                                                                                                                   D Form is incomplete                                                                      0       Resubmit on proper form

                                                                                            D Lacks details                                                                                                                                D Must be completed in English

_ Statement Detail the act or condition which caused this grievance._ (Be specific; list all dates, times, locations and witnesses.).

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Grievance Answered By:. __                                                                       /_'-1_~_%._'.;}._tF," "' ./"_·<::-=--·/'}_.,,./..,,,,.V'-,/----------
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Original: Treatment File                                                                                                                                                                                                                                                                                                                      FORM# RECJ20 (REV 2110)
                                                                                      Canary: Return to inmate with response
                                           Case 5:15-cv-04670-PD Document 8 Filed 10/26/15 Page 19 of 28
                                                                                                BERKS COUNTY JAIL SYSTEM                                                                                                    St>~/~
                                                                                                 INMATE GRIEVANCE FORM
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Inmate Name                  Toho c\, o C\ e\ so o                                                                                                                                                                          CelJ.1) \ \0

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                                                                     Instructions: Refer to the inmate handbook for information on the inmate grievance system.

                                                                                                                Administration Use Only

    D Does not fit criteria for an emergency/sensitive grievance                                                  D             Form is incompl~e                            D Resubmit on proper form

                                                               D Lacks details                                                                  D       Must be completed in English

  Statement: Detail the act or condition which caused this Krievance. (Be specific; list aU dates, times, location~and witnesses.)




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Original: Treatment File                                   Canary: Return to inmate with response                                                                                                                               FORM# RECl20 (REV 2110)
                                     Case 5:15-cv-04670-PD Document 8 Filed 10/26/15 Page 20 of 28
                                                                      BERKS COUNTY JAIL SYSTEM
                                                                       INMATE GRIEVANCE FORM

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         Inmate Name--"'-'"-o-''1"1'"'"n,_,_.._a....,.._.~=--\'--'-"""~""\"";,=o.....o...._____________                                         Cell   -x: , \()Q
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              D Does not fit criteria for an emergency/sensitive grievance           0     Form is incomplete              0   Resubmit on proper form

                                              D   Lacks details                                       0   Must be completed in English

        _ Statement:_Detail th_e act or condition which causecl this grievance. (Be specific; list all dates, times,                     location~and    witnesses.}




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    -    ~r/ginal: Treatment File            Canary: Return to inmate with response                                                                 FORM#RECI20 (REV2/10)
                                Case 5:15-cv-04670-PD Document 8 Filed 10/26/15 Page 21 of 28
                                                 BERKS COUNTY JAIL SYSTEM
                                                INMATE COMMUNICATION FORM

                                                                                                    BCJ # Joo(, - I \:.16
Inmate Name                                                                                 1J Unit/Cell # I   · ·                                Date

 TO: (Select only Q!1!!. ot,J1J~eJollowing,                            selecting more than ONE box will result in your communication being filed, unanswered.}
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 D    Warden            'o1.puty Warden                             D    Treatment                D Inmate Telephones                                 D   Inmate Accounts
 D    Custa~.          D Medical                                    D    Education                D SOG Commander                                     o ____
 D    Kitchen          D Chapel.                                    D    Commissary               D Booking/Mail/Property
 Write legibly, supply altretevantdetaits~ Forms which are unclearer contain demeaningJanguage, threats or
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BCJS 501U, 3-2014                                       Original - Treatment File                      Canary - Return to inmate with response
                Case 5:15-cv-04670-PD Document 8 Filed 10/26/15 Page 22 of 28




                                       Berl<.s County Jail System
                                    }{Jail                                        ::; Community Reentry Center
                                       1287 County Welfare Road                      1261 County \Velfare Road
                                       Leesport, PA 19533                            Leesport, PA 19533
                                       phone: 610-208-4800                           phone: 610-208-4800


 June 1, 2015

 Micliael D. Dautrich, Esq.
 Dautrich & Dautrich Law Offices, P.C.
 526 Com1 Street
 Reading, PA 19601

 Dear Attorney Dautrich:

 l am in receipt of your correspondence dated May 18, 2015, regarding your client Johnnie Lenan Nelson. You have asked for
 an explanation of why his phone privileges have been suspended and have indicated that you need the ability to speak with him
 during his incarcerati ou.

fn the months prior to the.suspension of his telephone privileges, Mr. Nelson had multiple violations of the telephone policy.
found in reviewing his records that he.did place many calls in that time period, but none to your office. This suspension will
not be lifted at this time; however, if you need access to your client, we have several alternative ways for you to conummicate
with him.

You may contact our Hearing Supervisor, Danie! VanBilliard at 610-208-4800, ext. 4826 to schedule use of the video or
telephone conferencing system. Or, you can call Lizzie Merin at ext. 4831 to arrange a time to meet with your client au-site in
a private, interview room. Finally, rv1r. Nelson is permitted to send and receive mail through the postal system.


                                                               Sincerely,
                                                              ~}uu ·~v. V'-QLLL cfL'--(
                                                               Janine L. Quigley, CJM
                                                               Warden

cc: D. Van.Billiard
   E. Merm
   Senior Staff Members
J          Case 5:15-cv-04670-PD Document 8 Filed 10/26/15 Page 23 of 28



     COMMONWEALTH OF PENNSYLVANIA                          :   INTHECOURTOFCOMMON
                                                           :   PLEAS OF BERKS COUNTY,
                     vs.                                   :   PENNSYLVANIA
                                                           :   CRIMINAL DIVISION
     Johnnie Lenan Nelson,
                        Defendant                          : No. 5539-2013
                                                           : Judge: Paul M. Yatron, P.J.

                                               ORDER__

            AND NOW, this      \c:;-   day of June, 2015, upon consideration of Defendant's

    Motion to Attend Private Viewing, it is hereby ORDERED that the motion is

    GRANTED. The Court orders the Sheriff of Berks County to transport Defendant to the

    T.J. Baker Funeral Home on June 23, 2015 at a time agreed upon by the funeral home for

    a Yz hour private viewing for his deceased sister, Ashley Nelson. It is FURTHER

    ORDERED that Defendant will be shackled and handcuffed at this private viewing and

    that he will be in BCP clothing and that he will not be permitted contact with family or

    friends and will not be permitted at the gravesite. Finally, it is ORDERED that

    Defendant's family must pay a fee to the Berks County Sheriff's office for transportation

    to and from the private viewing as requested by the Berks County Sheriff's Office.




                                                         BY THE COURT:


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                                                         Paul N1. Yatron, P.J.
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                                       Case 5:15-cv-04670-PD Document 8 Filed 10/26/15 Page 24 of 28
                                                              BERKS COUNTY JAIL SYSTEM
                                                             INMATE COMMUNICATION FORM

                                                                                            BCJ #: 2c,el.o- \ \b~
Inmate Name:                 .};~Do~e                   Ge \Son                         Unit/Cell#: T     !~ (.) \                            Date:    1-      S - \ '5
TO:            (Select only Q!1§. of the following; selecting more than ONE box will result in your communication being filed unanswered.)

D Booking/Mail/Property D                         Custody                   D Inmate Accounts   D Medical       0Warden
D Chapel                D                         Deputy Warden             D Inmate Telephones D SOG Commander E2f Other- - -
D Commissary            D                         Education                 D Kitchen           D Treatment     C.P\9\.
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BCJS 501U-5/2015                          Original - Treatment File                    Canary - Return to inmate with response
                           Case 5:15-cv-04670-PD Document 8 Filed 10/26/15 Page 25 of 28
                                              BERKS COUNTY JAIL SYSTEM
                                            INMATE COMMUNICATION FORM

                                                                                      BCJ # ;lr..>ol,,- \i.£,0
                                                                                 Unit/Cell # I       i2o \                          Date l .     t ') • 1 5


 TO: (Select only one of the following,                       selecting more than ONE box will result in your communication being filed, unanswered.)


 0Warden               1Z1 Deputy Warden                    D Treatment  D Inmate Telephones                                                D Inmate Accounts
 D Custody             D    Medical                         D Education  D SOG Commander                                                    ~ Oc.~ule-\       \,\/yJlf)
 D Kitchen             D    Chapel                          D Commissary D Booking/Mail/Property                                        f'C\,. ~C"-\   5"" :-\-~

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 profanity will not be addressed. ONLY ONE TOPIC PER COMMUNICATION.




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BCJS 501U, 3-2014                             Original - Treatment File                  Canary - Return to inmate with response
                               Case 5:15-cv-04670-PD Document 8 Filed 10/26/15 Page 26 of 28
                                                BERKS COUNTY JAIL SYSTEM
                                               INMATE COMMUNICATION FORM

                                                                                          BCJ #: 2006-1188
Inmate Name:           Johnnie L. Nelson                                          . Unit/Cell#:       I-201                     Date:      2 /6/1i5

TO:            (Select only~ of the following; selecting more than ONE box will result in your communication being filed unanswered.)

D Booking/Mail/Property D Custody                                          IBJ Inmate Accounts D Medical       D Warden
D Chapel                D Deputy Warden                                    D Inmate Telephones D SOG Commander D Other_ __
D Commissary            D Education                                        D Kitchen                    D Treatment
Write legibly, supply all relevant details: Forms wllich are unclear or contain demeaning language, threats-or -
profanity will not be addressed. ONLY ONE TOPIC PER COMMUN/CATION.

                       ?·Pease fill out this required In-Fopma-Pauperis                                                    RS   per
                       <.2e.urt order./
                      T§i s      is in regards to my accom:it




                      l.r'>




                                                                                                    Thank You


Note:   Writing in "response" section will result in form
        being unanswered and filed.
                                                                Inmate Signature:        ..,.....;:+~--_;·:;;.._....::.\...:.....;l;__.?VI)
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RESPONSE:                 .   "9Lecc.c        ::..c'\v.X\\cl       C\' \       C\:~-v-\0°Y';f(;-/
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Date      b/lU}l'~        Staff Member (Print)              //].    /fju:y\r"\((                    and (Sign)    (   .l     ,/,:jL~~ \fl,- I
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CC:
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BCJS 501U-5/2015                    Original - Treatment File                      Canary - Return to inmate with response
              Case 5:15-cv-04670-PD Document 8 Filed 10/26/15 Page 27 of 28
To:    Honorable Judge of District Court


My name is Johnnie L. Nelson.        I am the plaintiff in the said claim
before you.     I am constantly having problems with the staff at Berks
County Jail.     As in my complaint the staff continues to cause problems
and to deny me access to the Courts.'        I have followed the directions
required to file my claim in forma pauperis, however, as you can see
from the included request and response I am meeting with resistance
to even have my account certification without having to jump through
hoops when it is clearly at the top of the page where and why regarding
the needed certification.       I do not know what else I can do since
that was my second time I had attempted to get this information and
using the form included it is clear that the administration has been
doing and trying anything to deny or delay me in this process as a
means to discourage this action from being brought to light.             I have
also included an option to ask for a payment plan to filing fees, as
I do not have the means to pay outright.         I do wish for any charges
I may have to incur in this filing to be reimbursed by the named
Defendants.    I am amending my claim to include document # 14, request
for certification.




                                                               Respectfully,
                                                             - 'u
          Case 5:15-cv-04670-PD Document 8 Filed 10/26/15 Page 28 of 28

                        UNITED STATES DISTRICT COURT
                                     FOR THE
                      EASTERN DISTRICT OF PENNSYLVANIA



TO PROCEED IN THE DISTRICT COURT WITH A PAYMENT PLAN FOR FEES AND COST.

I am the--Flaintiff-- or peti tio-neI'--in-- this- case- and- deelare-- I am--
willing to pay the cost of these proceedings in a monthly payment
plan at the direction of the Court and as a result I am entitled
to the relief requested.

Please any initial payment costs required to proceed and payment
plan provided by the Court.
In the event this is not acceptable by the Court, Plaintiff will
foward the necessary paperwork to Proceed In Forma Pauperis.




I declare under penalty of perjury that the above information is
true and I understand that a false statement or agreement may
result in a dismissal of my claim.




                                                       ~C~LJ)~
                                                       " INTED NAME .
